

RES Exhibit Servs., LLC v Genesis Vision, Inc. (2017 NY Slip Op 07794)





RES Exhibit Servs., LLC v Genesis Vision, Inc.


2017 NY Slip Op 07794


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, LINDLEY, NEMOYER, AND CURRAN, JJ.


1002 CA 16-02128

[*1]RES EXHIBIT SERVICES, LLC, PLAINTIFF-RESPONDENT,
vGENESIS VISION, INC., DOING BUSINESS AS ROCHESTER OPTICAL, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






NIXON PEABODY LLP, ROCHESTER (DAVID H. TENNANT OF COUNSEL), FOR DEFENDANT-APPELLANT.
PHILLIPS LYTLE LLP, ROCHESTER (CHAD W. FLANSBURG OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Monroe County (Matthew A. Rosenbaum, J.), entered September 22, 2016. The order, among other things, granted plaintiff's motion for partial summary judgment and denied defendant's cross motion for partial summary judgment. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in RES Exhibit Services, LLC v Genesis Vision, Inc. ([appeal No. 3] ___ AD3d ___ [Nov. 9, 2017] [4th Dept 2017]).
Entered: November 9, 2017
Mark W. Bennett
Clerk of the Court








